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  8                               UNITED STATES DISTRICT COURT

  9                             CENTRAL DISTRICT OF CALIFORNIA

 10
 11   KHALIFAH E.D. SAIF’ULLAH,                      Case No. 2:22-cv-04521-MEMF (Ex)

 12                          Petitioner,             JUDGMENT

 13          v.

 14   RON BROOMFIELD, Warden,

 15                          Respondent.

 16
 17          Pursuant to the Court’s Order Accepting Findings and Recommendations of United States
 18   Magistrate Judge (ECF No. 15),
 19
 20          IT IS HEREBY ADJUDGED that the Petition is denied and dismissed with prejudice.
 21
 22   Dated: June 14, 2024
                                             ___________________________________
 23
                                             MAAME EWUSI-MENSAH FRIMPONG
 24
                                                    United States District Judge
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